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                            TD AMERITRADE
                RICARDO GUTIERREZ - ACCOUNT No.: 252-244303
           Date                   Debit                    Credit
        8/27/2021                                        $50,000.00
       09/07/2021                                          $500.00
       09/16/2021                                         $5,000.00
       09/08/2021               $5,178.00
       09/13/2021               $6,000.00
       10/08/2021                                        $25,000.00
       12/09/2021                                        $25,000.00
       02/14/2022                $517.98
       03/15/2022                $495.00
       05/03/2022                                       $100,000.00
       05/04/2022                                       $150,000.00
       05/05/2022                                       $200,000.00
       05/06/2022                                        $48,000.00
       05/13/2022                                       $150,000.00
       05/17/2022              $60,000.00
       05/31/2022             $250,000.00
       06/01/2022             $110,000.00
       06/02/2022             $125,000.00
       06/08/2022                                        $20,000.00
       06/09/2022              $60,000.00
       Grand Total            $617,190.98               $773,500.00
        Gain/Loss                         -$156,309.02
